

People v Jackson (2023 NY Slip Op 05374)





People v Jackson


2023 NY Slip Op 05374


Decided on October 24, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 24, 2023

Before: Kern, J.P., Singh, Gesmer, Scarpulla, O'Neill Levy, JJ. 


Index No. 4517/14 Appeal No. 894 Case No. 2017-1284 

[*1]The People of the State of New York, Respondent,
vLesley Jackson, Defendant-Appellant. 


Twyla Carter, The Legal Aid Society, New York (Rachel L. Pecker of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Jaime Masten of counsel), for respondent.



Judgment, Supreme Court, New York County (Neil E. Ross, J), rendered May 9, 2016, convicting defendant, upon her plea of guilty, of criminal sale of a controlled substance in the fifth degree, and sentencing her to five years' probation, unanimously affirmed.
Defendant's challenge to the voluntariness of her plea is unpreserved (see People v Conceicao, 26 NY3d 375, 381-382 [2015]), and we decline to review it in the interest of justice. As an alternative holding, we find that the record as a whole establishes that the plea was knowingly, intelligently, and voluntarily made, notwithstanding any deficiencies in the plea colloquy, including the lack of reference to the right to remain silent or the right to a "jury" trial (People v Ayala, 156 AD3d 547 [1st Dept 2017]; People v Walker, 151 AD3d 569 [1st Dept 2017]; People v Terrell, 134 AD3d 651, 652 [1st Dept 2015], lv denied 27 NY3d 1075 [2016]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 24, 2023








